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TRANSFER OF JURISDICTION

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NAME AND ADDRESS OF PROBATlON/SU'PERVlSED RELEASEEZ DISTRlCT DIVlSlON
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Glen H. Davidson

 

DATES OF PROB/TSR RELEASE FROM TO:
9/24)'03 91‘23/06

 

 

 

 

OFFENSE

Conspiracy to Steal Goods from Interstate Shipments and Possess and Transport Stolen Goods in lnterstate Comrnerce

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

 

UNITED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTR]CT OF MISSlSSlPPI

 

IT IS HEREBY ORDERED that pursuant to 18U.S.C. 3605 the jurisdiction of the probationer or supervised releasee married

may be changed by the District Court to which this transfer is made without further inquiry of this Court.*

above be transferred with the records of the Court to the United States District Court for the Western District of Tennessee upon that
Court’s order of acceptance of jurisdiction This Court hereby expressly consents that the period of probation or supervised release

 

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l Date ' United States Distn`ct Judge

 

* This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTR]CT COURT FOR THE Westem District of Tennessee

 

this Court from and alter the entry of this order.

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IT IS HER.EBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and assumed by

 

 

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with 'Rule 55 and/or 32(b) FRCrP on

TATESDRISTICT OURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l in
ease 2:05-CR-20247 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

